IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DlSTRICT OF TEXAS
SAN ANTONIO DIVISION
IN RE: § NO. 15-51396-cag

§
PRIMERA ENERGY, LLC §
§
DEBTOR §
§ CI'IAPTER 11 PROCEEDING

LIMITED RESPONSE AND OB|ECTION REGARDING MOTION TO EXPEDITE
CONSIDERATION OF MOTION TO APPOINT A CHAPTER 11 TRUSTEE

To THE HoNoRABLE UNITED STATES BANKRUPTCY]UDGE:

 

Primera Energy, LLC , debtor and debtor-in-possession (the "Debtor”), through its
proposed undersigned counsel, files this limited response only to the Motion to Expedite
Consideration of the Motion to Appoint Chapter 11 Trustee and would assert as follows:

1. Fred Patek, et al (“Patek”) filed a Motion to Appoint a Chapter 11 Trustee.
(“Motion”)(Doc. 4).

2. Contemporaneously, Patek filed a motion for expedited consideration of his
Motion. ("Doc. 5) and pursuant to certain emails between Patek’s counsel, Ms. Lisa Elizondo
and this counsel, are requested a hearing during the week of june 8-12, 2015.

3. Debtor will formally response to the merits of the Motion at a later date. This
response is limited to the request for an expedited consideration on less than 20 days notice.
First Basis for Objection - Extraordinary Remedy

4. The Bankruptcy Code provides for the appointment of a Trustee by the
Bankruptcy Court pursuant to 11 U.S.C. §1104. The Code provides that a Trustee may be
appointed under three circumstances: (1) upon request of a party, for cause of Fraud or gross
mismanagement of the debtor’s affairs by Current management; (2) upon request of a party,
without cause where appointment is in the interests of the creditorsl equity holders, and
others in the estate; and (3) where grounds exist to dismiss or convert the case, but the Court

determines that a trustee is in the best interest of creditors and the estate.

5. However, “the standard for § 1104 appointment is very high . . . ." In re Smcm`
World Techs., lnc., 423 F3d. F.3d. 166, 176(2d Cir. 2005); M 7 Collier on Bankruptcy, P.
1104.02(209a) (noting that appointment of a trustee in a Chapter 11 case is an “extraordinary”
remedy). Patel< has the burden of showing by "clear and convincing evidence" that the
appointment ofa trustee is warranted. In re Adelphia Communs C`orp, 336 B.R. 610, 656(
Bankr. S.D. N.Y. 2006). In determining whether a Section 1104 appointment is warranted, or
in the best interests of creditors, the bankruptcy court must bear in mind that the
appointment of a trustee “may impose a substantial financial burden on a hard pressed
debtor seeking relief under the Bankruptcy Code by incurring the expenditure of‘substantial
administrative expenses’ cause by further delay in the bankruptcy proceedings See,
Midlantic Nat’l Bank v. Anchomge BoatSales, Inc. (In reAnchorage Boat Sales, lnc) 4 B.R. 635,
644 (Bankr. S.D.N.Y. 1980).

6. Given this is an "Extraordinary Remedy”, due consideration and time should
be afforded to the Debtor and other creditors and parties in interest to determine whether
such a motion should be granted.

Second Basis for Objection - Patek et al’s Claim should be
determined by Arbitration

7. Patek, et al are investors in various oil and gas joint ventures. Upon information
and belief, their complaint centers around (1) the projected cost of the wells that they
invested in and the actual cost and (2) the difference between what they believed the well
would produce and what is being produce.

8. Without admitting the validity of the these complaint, they are historical in
nature and do not concern current operations.

9. More importantly, the Prospectus which governs the rights of all partiesl
including Patek, et al, requires that any claim arising out of' the subscription agreement or
the breach, termination, enforcement, interpretation or validity therof, if not settled within

30 days, shall be determined by arbitration in San Antonio, Texas. (Paragraph 9 of ExhibitA

attached.

1o. Arbitration agreements are seriously favored in Texas. “ln Texas, arbitration is
generally a contractual proceeding by which the parties to a controversy, in order to obtain
a speedy and inexpensive final disposition of the disputed matter, select arbitrators or judges
of their own choice, and by consent, submit the controversy to these arbitrators for
determination fn re C.A.K., 155 S.W.3d 544, 559 (Tex. App-San Antonio, zoo4, pet. denied.)

11. The state court proceeding should never have been held given the contractual
agreement the parties had to arbitrate.

Third Basis for Objection - General Unsecured Creditors

12. There are a substantial amount of trade and operational creditors. Based on
preliminary information there are several millions of dollars in creditor claims. One creditor
has already filed a claim for over $1,000,000. These creditors should have an opportunity to
weigh in on this issue. Upon information and belief, the rights ofthe trade creditors was not
before the state court; however, the ability to repay these creditors is foremost in the mind
of this court. Thus, these creditors should be provided adequate notice to determine whether
an appointment of a trustee is warranted.

Fourth Basis for Objection - Necessity of Debtor’s Counsel to
have proper time to prepare

13. Debtor’s counsel only became recently employed. This counsel did not
participate in any of the state court action and has no prior connection with the Debtor.

14. Counsel needs adequate time to prepare for such a hearing as well as time to
prepare the schedules and perform the normal and customary tasks associated with a chapter
11 filing.

15. Counsel asserts that he would need at least 20 days to adequately prepare for
any hearing for the appointment of a trustee. This time is necessary to review the state court
pleadings and evidence; to prepare the necessary bankruptcy schedules and statement of`

affairs; and interview witnesses.

Fifth Basis for Objection - Interim remedies may be implemented short ofthe
appointment of a Chapter 11 Trustee.

16. While Debtor denies that any such remedies that may be suggested below are
necessary or required, there are intermediate remedies that could be implemented prior to
a hearing on the merits.

17. Such remedies could include the any payment to Mr. Bryan Alfaro during this
interim period.

Sixth Basis for Objection - Unavailability of Bryan Alfaro

18. Currently, Mr. Alfaro is out of the state and is expected to return on ]une 17,
2015. Debtor request that any hearing be held after that date.

WHEREFORE, the Debtor respectfully requests that the Court deny the request
for an expedited setting and to schedule this sometime after ]une 17, 2015 when adequate
notice can be give to all parties and for such other and further relief as may be just and
equitable.

Respectfully submitted,
/s/Dean W. Greer

DEAN W. GREER

2929 Mossrock, Suite 117

San Antonio, Texas 78230
(210) 342-7100

(210) 342-3633 - Telecopier
State Bar No. 08414100
Attorney for Debtor

CERTIFICATE OF SERVICE

l hereby certify that I electronically filed the foregoing with the Clerk of Court using the
CM/ECF system. Notice was delivered to the parties listed below and those listed on the attached
Exhibit A using the CM/ECF System or by First Class Mail, Postage Prepaid on the 5th day of ]une1
2015.

PR[MERA ENERGY, LLC
21022 GATHER]NG OAK #2101
sAN ANToNlo. TEXAS 78260
DEBTOR

U.S. TRUSTEE

P. o. Box 1539

SAN ANToNlo, TExAs 78295-1539
U.S. TRUSTEE

/s/ Dean W. Greer
DEAN W. GREER

Label Hatrix for local noticing
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Case 15-51396-cag

Western District of Texas

San Antonio

Fri Jun 5 09:03:45 CDT 2015

ARK-LA-TEX Wireline Services
P. 0. Box 677231

1200 East Campbell #108
Richardaon, TX 75081-1953

ArkLaTex Hireline Services, LLC
cia William R. Sudela

Crady, Jewett & HcCulley, LLP
2727 Allen Parkway, Suite 1700
Houston, TK 77019-2125

Beck Bros, Inc.
P. 0. Box 712
Beeville, TX 70104-0712

Brandon Barchus

Faulk Barchua

800 Bering Drive 8400
Houston, Texas 77057-2131

CWFord Rentala
P. 0. Bar 3156
Kilgorer TX 75663-3156

Chem Rock Technologies
P. 0. Box 01277
Lafayette. LA 70598-1277

Diamond Bnergy Services
406 S. Boulder Ave #700
Tulsa, OK 74103-3862

EVO Inc.
15720 Park Row #500
Houston, TX 77004-4961

Excalibur Rentals
P. D. Box 203047
Houston, TX 77216-3047

Primera Energy, LLC
21022 Gathering Oak #2101
San Antonin, TX 70260-3109

Allied Oil & Gas
P. 0. Box 93999
Southlake, TX 76092-0119

Attorney General of the U.S.
10th a Const. Ave. N.w.f$lll
Washington, D.C 20530-0001

Beta International. Inc.
P. 0. Box 4436 msc 700
Houston, TX 77210-4436

CC American 0ilfield LLC
P. 0. Box 250012
Corpus Christir TX 70425-0012

Certified Oil Field Rentals. I
P. 0. Box 957
Cuero, TX 77954-0967

Crest Pumping Technologies
5500 Weat Freeway #601
Fort Worth, TX 76116-2101

Diversified Well Logging, LLC
711 West 10th Street
Reserve, LA 70084-6919

Eagle Oilfield Inspection Serv
P. 0. Box 895
Broussard, LA 70518-0895

Ezpress Energy Services
P. 0. Box 843971
Dallas, TX 75284-3971

U.S. BANKRUPTCY COURT
515 B. HOUSTON STREETl ROOM 597
SAN ANTONIO, TX 78205-2055

Andrew: Pump & Supply
P. 0. Box 1378
Andrews, TX 79714-1378

BBVA Compass
10503 Blanco Road
San Antonio, TX 70258-4044

Black Gold Rental Tools
P. 0. Box 9531
Corpus Christi, TX 70469-9531

CC Forbea LLC
P. 0. Box 250
Alice, TX 78333-0250

Champions Contracting, LLC
20600 H and R Road
Houston, TX 77073-3002

Dean W. Greer, Attorney
2929 Hosarock, Suite 117
San Antonio. TX 78230-5141

Dynasty Enterprises, Inc.
F. 0. Box 123
Kenedy, TX 78119-0120

Elite Toilet Rentals
P. 0. Box 3772
Victoria, TX 77903-3772

Gray Salesr Inc.
P. O. Box 133
Hebbronville, TX 73361-0105

EXHIBIT a

Guadalupe Valley Electric Coop
13049 US Hwy 870
LaVernia, TX 70121-5848

iplIN'rBRNAL REVBNUE ssRvicr
commst INsoLvriicr opmrrons
110 Box ms

PHILMJBLPHIA PA 19101-7346

Karnes County National Bank
P. 0. Box 90
Karnes City, TX 78110-0090

HMZ Conaulting
9207 Limestone Pass
Boerne, TX 70006-6549

HcGuire Industries
2415 W. 42nd Street
Odessa, TX 79764-6309

Nationwide Capital Funding
F. 0. Box 260775
Corpus Christi, TX 78426-0775

P & A Supply
P. O. Box 4814
Victoria, TX 77903-4814

Quick Pipe
1025 Upland Drive
Houston, TX 77043-3003

Steve Kent Trucking
P. 0. Box 148
Lottie, LA 70756-0148

U. S. Trustee
515 E. Houston St. Room 533
San Antonio, Texas 70205-2055

Hanz Hydraulica, Inc.
6204 Fenske bane
Needville, TX 77461-8843

K-3 Services
P. 0. Box 2236
Alvin, TX 77512-2236

Key Energy Services
P. 0. Box 4645
Houstonl TX 77210-4649

MW Rentals t Service
4002 U.S. Hwy 55 North
Victoria, TX 77905-5501

Midstar Energy LP
1040 Snake River Road iE
Katy, TX 77449-7755

Newpark Drilling Tools
21920 Herchant's Way
Katy, TX 77449-6834

Platinum Pressure Pumping
2100 W. Loop S 01400
Houaton. TX 77027-3525

Rathole Drilling, Inc.
P. 0. Box 309
AIicer TX 78333-0309

Trican Well Services
P. 0. Box 577410
Dallas, TX 75257-7410

Unit Texas Drilling, LLC
7130 South Lewis §1000
Tulsa, OK 74136-5465

Inland anironmental & Remedia
P. 0. Box 1090
Columbus, TI 70934-1090

KDR Supply, Inc.
P. 0. Box 10130
Liberty. TX 77575-7530

bone Star Industries
P. 0. Box 180
Hebbronville. TX 70361~0103

Maverick Field Servicea
P. 0. ex 252
La Grange, TX 70945-0262

National Oilwell Varco LP
P. 0. Box 203793
Dallasl TX 75320-3791

011 Patch Rental Servicea
P. 0. Box 204567
Dalla§, TX 75320-4657

Production Equipment Company
P. 0. Box 2621
Corpua Christi, Texao 70403-2621

Refinery Specialties
P. 0. Box 577
Hempstead, TX 77445-0577

U. S. Attorney/IRS
501 N. w. map 410, suite 600
San Antonio, Texas 78215-5512

Udited Statea Trustee - 5112
US Trustee's Office

615 E Houston. Suite 533

PO Box 1539

San hntonio, TX 70295-1539

cfc David S. Gragg / Natalie F. Hilson Dean William Greer
Langley & Banack, Inc. 2929 Hossrock, Suite 117
745 E. Mulberry. Suite 900 San Antonio, TX 70230-5141
San Antonio, TX 70212-3141

The preferred mailing address fpl above has been substituted for the following entity/entities ss so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342{£] and Fed.R.Bank.P. 2002 (g}(i).

Internal Revenue Service
P. 0. Box 21126
Philadclphia, PA 19114

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